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                           UNITED STA TES DISTRICT COURT
                       FOR TH E SO UTHERN DISTRICT OF FLORID A


                                           cAsExo. Iq -r c-a#9f'y -pMs
  IN RE APPLICATION OF
  HORNBEAM CO RPOM TION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28U.S.C.j 1782


                           ORD ER GM NTIN G H O RNBEAM C OR PO M TIO N 'S
            APPLICATIUN FOR DISCOVERY PURSUANT TO 28U.S.C.41782

         Thism attercom esbefore the Courtby an application fordiscovery pursuantto 28 U .S.C.

  j1782(theésApplication'')filedbyHornbeam Corporation(isApplicant'').Havingreviewed
  theA pplication and A pplicant's supporting m em orandum ,the declarationsofJam esH .Power,

  dated Decem ber23,2014,Fabrizio N .Cam panile,dated December23,20l4,Vadim N .

  Shulman,datedDecember17,2014,andM ichaelJ.Fay,datedDecemberl8,2014,aswellas

  the exhibitsthereto,the Courtissatisfied thatthe production ofdocumentation isw arranted

  pursuantto28U.S.C.j1722,andtheCourtherebyORDERSasfollows:
   1) TheApplicationisGRANTED.
  2) ApplicantisauthorizedtoissueandservesubpoenasonMordechaiKortlFelmanTrading
     lnc.,Felm an Production LLC,Optim aInternationalofM iam i,lnc.,O ptim a Fixed lncom e
     LLC,Optim a lndustrialM anagem ent,LLC,Georgia Am erican Alloys Inc.,O ptim a Specialty

     Steel,lnc.,Optim a VenturesLLC,Optim aA cquisitionsLLC,Optim a Group,LLC,Optim a

     Highland LLC,5251 36stLLC,CC M etals& A lloysLLC,and Felm an Production lnc.

     (collectively,theGsDiscoverySubjects''),forthetestimonyofMordechaiKorf($$Korf')
     and/oreachDiscoverySubject'skeyemployeets)regardingthefollowingtopics:
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     a) TheDiscoverySubject'scomoratestructure;
     b) TheDiscoverySubject'sfinancialrecordsconcerningW arrenSteelHoldingsLLC
        (sdW arren Steel''),businesstransactionswith W arren Steel,orIoansto W arren Steel,
        including the source ofeach loansorigination and the accountfrom which each loan was

        m ade;

     c) TheDiscoverySubject'sbusinesstransactionswithWarrenSteel;
     d) TheDiscoverySubject'sdocumentretentionpolicies;and
     e) TheDiscoverySubject'scommunicationsandrelationshipwithRelatedPartyLenders,
        RelatedEntities,andRelatedIndividuals(al1definedbelow)concerningW arren Steel,
        businesstransactionswith W arren Steel,orloansto W arren Steel.

     ApplicantisauthorizedtoissueandservesubpoenastoinspecttheDiscoverySubjects'
     prem ises.

  4) ApplicantisauthorizedtoissueandservesubpoenasontheDiscoverySubjectsforthe
     production ofthe following docum ents:

     a) A1l documents and communications concerning the Discovery Subjects' corporate
        structure, including their a com orate organization chart as w ell as alI docum ents and

        com m unicationsconcerning thesam e.

     b) TheDiscovery Subjects'officer,employee and departmentorganizationalchartsand/or
        listsaswellasalldocum entsand comm unicationsconcerning the sam e.

     c) Al1documentsand communicationsconcerning allIoansand credittransactionsto which
        W arren Steelisaparty.

     d) Alldocumentsandcommunications,concerninganytransaction,Ioan,agreement,
        contract,invoice orunderstanding w ith W arren Steel.
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     e) A11 documents and communications that are or are concerning internalor external
        valuations, appraisals, liquidation analyses, faim ess or solvency opinions, or other

        docum entsconcerning the valueofthe liabilitiesofW arren Steelfrom January 1,2006 to

        the present.

     f) Allinvoices,contractsandagreementsconcerning W arren Steel.
     g) AIldocumentsandcommunicationsconceminganybankaccountsmaintainedforthe
        benefitoforutilized by W arren Steel.

     h) Alldocumentsandcommunicationsconcerningallloansandcredittransactionstowhich
        W arren Steelisa party.
        A lldocum entsand com m unicationsconcerning any transaction,loan,agreement,

        contract,invoice orunderstanding with any ofthe follow ing entitiesthataccording to the

        DeclarationofFabrizioN.Campanile,datedDecember23,2014(theddcampanile
        DecI.''),includingtheFTIreportandappendicesthereto(CampanileDecl.,Exs.34-35),
        are related to Kolom oisky,Bogolubov,and/orKorfand have provided loansto W arren

        Steel(thedsRelated PartyLenders''):
               D ivotEnterprisesLim ited;

        ii)    525136thStreetLLC;
        iii)   CC M etalandAlloysLLC;
        iv)    FelmanTrading,Inc.;
        v)     MordechaiKortla/k/aMottiKorf;
        vi)    OptimaAcquisitions,LLC;
               Optim a Fixed lncome LLC;

        viii) OptimaGroup LLC;
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        ix)    OptimalnternationalofM iami,Inc.;
        x)     OptimaVentures,LLC;
        xi)    QuerellaHoldingsLimited;and
        xii) Felman Production,LLC.
        Alldocum entsand com m unicationsconcem ing any transaction,loan,agreem ent,

        contract,invoice orunderstanding w ith any ofthe follow ing entitiesthataccording to the

        CampanileDecl.andtheFTIreportandappendicesthereto(CampanileDecl.Exs.34-
        35),arerelatedtoShulman,Kolomoisky,Bogolubov,and/orKorf(theSsRelated
        Entities'):
               Kentucky Electric Steel;

        ii)    FelmanTradinglnc.;
        iii)   FelmanProductionlnc.,
                                   '
        iv)    RaytransManagementLLC;
        v)     CC M etals& AlloysLLC;

        vi)    OptimaVenturesLLC;
        vii)   OptimaAcquisitionsLLC;
        viii) OptimalntemationalofMiami,Inc.;
        ix)    OptimaGroupLLC;
        x)     OptimaFixedIncomeLLC;
        xi)    QuerellaHoldingsLimited;
        xii) OptimalndustrialManagementLLC;
        xiii) OptimaHighland LLC;
        xiv) Georgian AmericanAlloysInc-,
                                        '



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        xv) OptimaSpecialtySteel,Inc.;
        xvi) DivotEntemrisesLimited;
        xvii) M arigoldTrustCompanyLimited'
                                          ,
        xviii) DivotEnterprisesLimited'
                                      ,
        xix) 525136thStreetLLC;
        xx) Hornbeam Comoration;
        xxi) Tectum TrustManagementEstablishment;
        xxii) lnstrad Limited;
        xxiii) PlamaLimited;
        xxiv) BrachaFoundation;
        xxv) MarigoldTrustCompanyLimited;
        xxvi) DivotEntemrisesLimited;
        xxvii) Privatlntertradinga/k/aZAO PrivatIntertrading;
        xxviii)PrivatGroup;
        xxix) HahseeklnvestmentsLtd.,
                                    '
        xu ) GM GeorgianManganeseHoldingsLtd.;
        xu i) GeorgianManganese,LLC;
        xxxii) OptimaIndustrialM anagement,LLC;and
        xxxiii)Vartsikhe2005,LLC.
     k) AIIdocumentsandcommunicationsconcerninganytransaction,loan,agreement,
        contract,invoice orunderstanding w ith any ofthe follow ing individualsthataccording to

        theCampanileDecl.andtheFT1reportand appendicesthereto (CampanileDecl.Exs.
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              34-35),arerelatedto Shulman,Kolomoisky,Bogolubov,and/orKorf(theSsRelated
              Individuals'):
                     Vadim Shulm an;

              ii)    Verena Ernst;

              iii)   RonnyPitko;
              iv)    FabrizioCampanile;
              v)     NeophistosSavvides;
              vi)    M ordechaiKorf;
              vii) PanikosSymeou;
              viii) ArtemisMildoni'
                                  ,
                     Christou Thanos;

              x)     TimurNovikov;
              xi)    IgorKolomoisky;and
              xii) Genady Bogolubov.
        5) TheDiscoverySubjectsshallproducethedocumentsrequestedintheirrespectivesubpoenas
           withintwenty-one(21)daysofserviceofthesubpoenaandasrequiredundertheFederal
           RulesofCivilProcedure and the LocalRulesoftheUnited StatesD istrictCourtforthe

           Southern DistrictofFlorida.

        6) TheDiscoverySubjectsshallpreservedocumentsandevidence,electronicorotherwise,in
           theirpossession,custody orcontrolthatcontain inform ation potentially relevantto the

           subjectmatteroftheApplicant'sdocumentrequest.




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             7.    TheCourtshallretainjurisdictionoverthematterforthepumoseofenforcement
                   and assessing any supplementalrequestfordiscovery assistancethatm ay be

                   requested bytheApplicant.

             8.    A Copy ofthisOrdershallbe         d with each disco        and.

             DONE AND ORDERED in Ch         bersatM iami,Floridaon t ls       day ofFebruary

     2015.
                                                                          P
                                               W       A M C .TUR N O FF
                                                   NITED STATES M AGISTM TE JUDGE


     cc:     Hon.PatriciaA .Seitz
             CounselofRecord




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